Inmate Name: MORGAN, RONNIE                                                                     Reg #: 20126-057
Date of Birth: 04/30/1959                                Sex:      M   Race : AMERICAN          Facility: BUT
Encounter Date: 03/22/2021 14:30                         Provider: Rogers, A. PT, DPT, GCS      Unit:     F01

OBJECTIVE:

 Comments
   Lumbar ROM : Flexion decreased by 50%, Extension decreased by 50%, Rotation= L decreased 75% (R side back pain )
   and R decreased by 85%, Side bending= Bil reaches hand to 2-3 finger widths from knee length (R Side Bending pt has
   to lift L foot off the ground).

   Posture : Flat lumbar spine , poor spinal recruitment with movement, L foot in supination (medial heel does not touch the
   floor), L lower leg in varus .

   Pelvic alignment: (standing ) L Anterior and Posterior Superior Iliac Spine (ASIS/PSIS)

   + Left LLD in supine . L LE= 82 cm and R LE= 85 cm (about 1, 1/4" shorter on L)

   Bil LE Active ROM: WNL except L knee flexion to about 100-115 degrees.

   Tender with palpation at paraspinals T11-L5. Pain most prominent at T11-12 and L4-5 . Muscle Trigger Points noted .

   Treatment: issued second off the shelf heel lift for pt to modify and combine with existing heel lift. Instructed in exercises
   (twice a day): supine trunk rotation (4x15 second holds, then 10x's quicker repetitions) and posterior pelvic tilt (10x's 5
   second holds ).

   Thoracic/Lumbar X-rays (02/ 19/21 ):
   Mild scoliosis Right Apex thoracic spine , Left Apex lumbar spine . Lumbar spine with multi-level degeneration ,
   spondylosis, and mild degenerative disc disease . Facet arthropathy in lumbrosacral junction .
ASSESSMENT:
        M/S Impairment Assoc w/ Spinal Disorders
        Pt h/o an ATV accident in 1989 and gall bladder removal surgery in September 2020 leading to chronic and sub-acute
        pain in the back worse on right side wrapping around to R lower abdomen , and L lower leg to include the knee , lateral
        aspect, and calf muscle . Pt demonstrates limitation in back motion and vertebral recruitment. Palpable and observable
        scoliotic mal-alignments noted in the thoracic/lumbar spine , R side pelvis elevation, L lower leg varus , L foot supination ,
        and limited L knee flexion . Pt will benefit with starting with gentle back and pelvis stretching as well as mobility exercises
        and progressing to core stabilization . A heel lift on the left of adequate height will probably help to decrease chronic pain
        in multiple joints . Will have pt use a TENS unit for a trial to help with paraspinal pain . Pt appears receptive to the plan
        and presents as a fair to good candidate for rehab.

PLAN:

Schedule:
    Activity                                                 Date Scheduled    Scheduled Provider
    Rehab Treatment                                          03/26/2021 09:30 Phys Therapist 04
         Pt with h/o chronic back pain mainly R side with x-ray revealing scoliosis . Pt with L LLD and lower leg varus with
         foot supination .

       F/u to check tolerance of posterior pelvic tilts and supine trunk rotation . Issue and instruct in use of TENS unit.
    Rehab Treatment                                      04/09/2021 09 :30 Phys Therapist 04
         Pt with h/o chronic back pain mainly R side with x-ray revealing scoliosis . Pt with L LLD and lower leg varus with
         foot supination .

       Check heel lift tolerance if issued. Exercise progression .
    Rehab Treatment                                     04/23/2021 09 :30 Phys Therapist 04
         Pt with h/o chronic back pain mainly R side with x-ray revealing scoliosis. Pt with L LLD and lower leg varus with
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                                                              Bureau of Prisons
                                                               Health Services
                                                              Clinical Encounter
     Inmate Name : MORGAN , RONNIE                                                                        Reg#: 20126-057
     Date of Birth : 04/30/1959                                 Sex:      M   Race: AMERICAN              Facility: BUT
     Encounter Date: 06/11 /2021 15:15                          Provider: Rogers, A. PT, DPT, GCS         Unit:     F01


     Physical Therapy - Follow up Vis it encounter performed at Health Services .
     SUBJECTIVE:
         COMPLAINT 1                  Provider:   Rogers , A. PT, DPT, GCS
            Chief Complaint:      Pain
            Subjective :      Pt h/o an ATV accident in 1989 and gall bladder removal surgery in September 2020 leading
                              to chronic and sub-acute pain in the back worse on right side wrapping around to R lower
                              abdomen , and L lower leg to include the knee , lateral aspect, and calf muscle . Pt was sent to
                              the outside hospital emergently on 04/26/21 due to potential appendicitis. Per chart review
                              and pt, he was told that all R side abdominal organs were fine and that it was muscle spasms .
                              Pt was in quarantine upon return to the FPC and PT f/u was delayed until release back into
                              the general population . Pt was issued his custom L insole with heel lift while in quarantine .
                              Th is visit pt notes that it is fitting well after taking off both removable 1/8" heel lifts . Pt notes
                              that it has helped with his hip pain and currently no c/o L lower leg pain . Pt notes that he
                              continues to have abdominal pain rated as 0/10 now. Pt takes Naprosyn to help manage his
                              pain as needed . Pt rates his R upper to mid lumbar achy pain as 2/10 and worse with
                              prolonged sitting. Per pt, he has been doing his exercises/stretches every other day. Pt
                              reports receiving a better mattress which also helped some . Pt continues to use his TENS unit
                              periodically which helps for temporarily rel ief of pain . Pt continues to work in food service
                              doing veggie prep .

                              PMH : Hyperlipidemia , gout, unequal leg length , and Low Back Pain
            Pain:             Yes
            Pain Assessment
              Date:                         06/11/202115:15
              Location :                    Back-Lower
              Quality of Pain:              Aching
              Pain Scale:                   2
              Intervention:                 therapeutic exercise progression
              Trauma Date/Year:
              Injury:
              Mechanism :
              Onset:                        5+ Years
              Duration:                     2-6 Months
              Exacerbating Factors:         prolonged sitting
              Relieving Factors:            Has better mattress , TENS unit, rehab exercises .
              Reason Not Done:
              Comments:

     OBJECTIVE:

      Comments
         Positive tenderness with palpation at R side lumbar paraspinals at L 1-L3.

         Reviewed exercises: posterior pelvic tilt, supine trunk rotation , and seated hamstring stretch to be completed twice daily
         4x15-30 second holds.

                            Case
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